93 F.3d 1146
    5 A.D. Cases 1632
    INMATES OF the ALLEGHENY COUNTY JAIL, Thomas Price Bey,Arthur Goslee, Robert Maloney, and Calvin Milliganon their own behalf and on behalf of allothers similarly situated, Appellants,v.Cyril H. WECHT, President of the Allegheny County Board ofPrison Inspectors, and the other members of the Board;Thomas Foerster and William H. Hunt, Commissioners forAllegheny County;  Frank J. Lucchino, Controller forAllegheny County;  Eugene Coon, Sheriff for AlleghenyCounty;  the Honorable Patrick R. Tamilia;  Michael J.O'Malley and Marion K. Finkelhor, Judges, Court of CommonPleas of Allegheny County;  Richard S. Caliguiri, Mayor ofthe City of Pittsburgh, Harriet McCray;  Msgr. Charles OwenRice;  and Charles Kozakiewicz, Warden of the AlleghenyCounty Jail and William R. Robinson, Executive Director ofPrison Inspectors;  and Cyril Wecht, Thomas Foerster andWilliam H. Hunt, as Commissioners of Allegheny County,v.The COMMONWEALTH of Pennsylvania;  The Commonwealth ofPennsylvania, Department of Corrections;  Davis S. Owens,Jr., Commissioner, Department of Corrections;  and ErskindDeramus, Deputy Commissioner, Department of Corrections.
    No. 95-3402.
    United States Court of Appeals,Third Circuit.
    Sept. 20, 1996.
    
      SLOVITER, Chief Judge, BECKER, STAPLETON, MANSMANN, GREENBERG, SCIRICA, COWEN, NYGAARD, ALITO, ROTH, LEWIS, McKEE, Circuit Judges, and POLLAK*, District Judge.
      ORDER
      SLOVITER, Chief Judge.
    
    
      1
      A majority of the active judges having voted for rehearing en banc in the above appeal, it is
    
    
      2
      ORDERED that the Clerk of this Court vacate the panel's opinion and judgment filed August 22, 1996 and list the above case for rehearing en banc at the convenience of the court.
    
    
      
        *
         Hon.  Louis H. Pollak, United States Senior Judge for the United States District Court for the Eastern District of Pennsylvania, as to panel rehearing only
      
    
    